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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2019 OK 41Case Number: SCBD-6800Decided: 06/10/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 41, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE 
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION



On May 20, 2019, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2018 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B. The Board of Governors recommended the members, whose names appear on the Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules.

This Court finds that on March 15, 2019, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2018.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 10th DAY OF JUNE, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert and Combs, JJ., concur.



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Exhibit A


	
		
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			Brent Douglas Berry, OBA No. 18013
			West Ylla Gosney Law Office
			8 S.W. 89th St., Suite 200
			Oklahoma City, OK 73139-8533

			Jess Lynn Brewer II, OBA No. 14680
			13428 Palm Ave.
			Edmond, OK 73013

			Jade Caldwell, OBA No. 31820
			12316A N. May Ave., Ste. 216
			Oklahoma City, OK 73120

			Creighton Coy Collier, OBA No. 19434
			4618 S. Columbia Pl.
			Tulsa, OK 74105

			William Christopher Cook, OBA No. 18035
			1001 N.W. 63rd, Ste. 290
			Oklahoma City, OK 73116

			Rodney Alan Edwards, OBA No. 2646
			6226 E. 101st St., Ste. 100
			Tulsa, OK 74137

			David Brian Fuller, OBA No. 32207
			3931 Highland Drive
			Tahlequah, OK 74464

			Douglas Kennard Garrett, OBA No. 12105
			1808 Stonewood Cir.
			Norman, OK 73026-0631

			Brandi Lynn Gragg, OBA No. 30335
			P.O. Box 701332
			Tulsa, OK 74170

			John Thomas Green, OBA No. 32944
			121 E. Grand Ave.
			Ponca City, OK 74601

			Bryan Lynn Kingery, OBA No. 15507
			P.O. Box 398
			Ada, OK 74821-0398
			
			
			Emilie P. Kirkpatrick, OBA No. 21257
			1901 N. Classen, Ste. 100
			Oklahoma City, OK 73106

			Joan Marie Lamson, OBA No. 18756
			3709 N. Miller Ave.
			Oklahoma City, OK 73112

			Norman Kyle Mccallum, OBA No. 19676
			102 W Jackson St.
			Hugo, OK 74743-3310

			Brandon Scott Nichols, OBA No. 18973
			215 N. Cooke Tr.
			Edmond, OK 73034

			Thomas Edward Quirk, OBA No. 30793
			P.O. Box 849
			780 FM 1626
			Manchca, TX 78652-0849

			Chad Robert Reineke, OBA No. 20316
			P.O. Box 14733
			Oklahoma City, OK 73113-0733

			Daniel Paul Stake, OBA No. 8538
			P.O. Box 202
			Kingfisher, OK 73750

			Amber Ann Sweet, OBA No. 31725
			10535 E. 156th St. N
			Collinsville, OK 74021

			Joshua James Young, OBA No. 22345
			P.O. Box 1063
			Sapulpa, OK 74067

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